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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
______________________________________
                                       )
PROGRESSIVE FINANCIAL                  )
SERVICES, INC,                         )
                                       )
                  Plaintiff,           )   No. 18-1881C
                                       )
            v.                         )   Filed: February 12, 2021
                                       )
THE UNITED STATES,                     )
                                       )
                  Defendant.           )
______________________________________ )

                                               ORDER

        On February 4, 2021, the parties filed a joint motion requesting that the Court stay further

proceedings in this case, pending the completion of settlement discussions. ECF No. 41. The

parties report that they have made substantial progress toward a potential settlement and request

additional time to allow for further negotiation. Based upon the parties’ representations in the

Joint Motion, it is hereby ORDERED that the motion is GRANTED and this matter is

STAYED until May 7, 2021. The Court ORDERS the parties to submit joint status reports

regarding the progress of their settlement discussions every 30 days beginning March 5, 2021

until either the stay is concluded or a joint stipulation of dismissal is filed.

        SO ORDERED.


Dated: February 12, 2021                                      /s/ Kathryn C. Davis
                                                        KATHRYN C. DAVIS
                                                        Judge
